           Case 09-34791-PGH   Doc 1645    Filed 04/22/11   Page 1 of 10




                      UNITED STATES BANKRUPTCY COURT
                        SOUTTMRN DISTRICT OF FLORIDA
                             Fort Lauderdale Division
                              www.flsb.uscourts.gov

IN RE:                                             CASE NO.:09-34791-RBR

ROTHSTEIN ROSENFELDT ADLER, P.A.,                  CHAPTER   11



         Debtor




 RAZORBACK CREDITORS' NOTICE OF FILING OF TRANSCRIPT EXCERPT OF
   PROCEEDINGS BEFORE BROWARD CIRCUIT COURT JUDGE JEFFREY E.
STRETTFELD, HELD ON APRrL l5,20tt,IN SUPPORT OF REpLy TO ADVERSARY
DEFENDANT GIBRALTAR PRIVATE BANK & TRUST COMPANY'S RESPONSE IN
 OPPOSITION TO RAZORBACK CREDITORS'MOTION FOR LEAYE OF COURT
    TO DEPOSE AND TAKE RULE 2OO4 EXAMINATION OF INCARCERATED
              INDIVIDUAL. SCOTT W. ROTHSTEIN I-D.E.1632I

         Creditors, RAZORBACK FLINDING,   LLC, D3 CAPITAL CLUB, LLC, BFMC
INVESTMENT, LLC, LINDA VON ALLMEN as Trustee of the VON ALLMEN DYNASTY

TRUST, D&L PARTNERS, LP, DAVID VON ALLMEN, as Trustee of the DAVID VON

ALLMEN LIVING TRUST, ANN VON ALLMEN, as Trustee of the ANN VON ALLMEN

LIVING TRUST, DEAN KRETSCHMAR, COOPER MANAGEMENT, ANTHONY
DEGENNARO as Trustee of the EXTRA INNING DYNASTY TRUST, ADELE MUSSRY,

JACK MUSSRY, NASSIM MUSSRY, MELINA EL-ANI, DANIELLE EL-ANI, H&N

ASSOCIATES, ARETZ ASSOCIATES, PARK NATIONAL CAPITAL FUNDING, LLC,

PARK NATIONAL MORTGAGE SERVICING, SCOTT MORGAN, VICEROY GLOBAL

INVESTMENTS, INC., CONCORDE CAPITAL, INC., SUSSCO, INC., EDWARD PALEY,

FLORENCE PALEY, THE EDWARD AND FLORENCE PALEY FOUNDATION, STEVEN

PALEY, LAURA PALEY, JANE ZARETSKY, STEVEN ZARETSKY, as Trustee of the JANE

ZARETSKY DYNASTY TRUST, LAWRENCE              E.   DEKELBAUM, AND SHALOM
             Case 09-34791-PGH                    Doc 1645          Filed 04/22/11            Page 2 of 10




STRICTLY KOSHER MEATS, INC., (collectively, the "Razorback Creditors"), hereby give

notice of filing of the attached Transcript Excerpt of the hearing held before Judge Jeffrey E.

Streitfeld, on      April 15, 2011, on the Plaintiffs' Motion for Leave to                           Depose Incarcerated

Defendant, in Case No.:09-062943(19). The Razorback Creditors direct the Court's attention to

page 4; lines 19 through 25, and page 5; lines 1 through 2.

          Dated: April22.2O7l

                                                                      Respectfully submitted,

                                                                     /s/James D. Silver
                                                                     WILLIAM R. SCHERER
                                                                      Florida Bar No. 169454
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                                                                     JAMES D. SILVER
                                                                     Florida Bar No. 373702
                                                                      silver@ conradscherer.com
                                                                     CONRAD & SCHERER, LLP
                                                                     Counsel for Creditors
                                                                     633 South Federal Highway
                                                                     Fort Lauderdale, FL 33301
                                                                     Tel: (954) 847-3324
                                                                     Fax: (954) 463-9244


I HEREBY CERTIFY      that I am admitted to the Bar of the United States District Court for the Southern District of Florida and   I
am in compliance with the additional qualifications to practice in this coun set forth in Local Rule 2090-1 (A).




                                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing has been furnished fhts 22nd
day of April,2OlI via the Court's CM/ECF electronic noticing system to all electronic filing
participants with respect to this proceeding and via mail and/or e-mail to all those additional
persons and entities listed on the attached service list.

                                                                     /s/James D. Silver
                                                                     James D. Silver




                                                                2
          Case 09-34791-PGH           Doc 1645   Filed 04/22/11    Page 3 of 10




                                       SERVICE LIST

Internal Revenue Service                         Canon Financial Services, Inc
Special Procedures - Insolvency                  158 Gaither Drive
7850 SW 6th Court                                #200
Plantation, W 33324                              Mount Laurel, NJ 08054

Special Asst. U.S. Attorney                      CIT Technology Financing Services I,
P.O. Box 9, Stop 8000                            LLC
51 SW lstAvenue, #III4                           10201 Centurion Parkway North
Miami, Florida 33130                             Jacksonville,FL 32256

Internal Revenue Service                         Inter-Tel Leasing, Inc.
Cenfr aLized Ins olvency Operations              1140 West Loop North
P.O. Box 21126                                   Houston, TX77055
Philadelphia, PA 19114
                                                 Florida Department of Revenue
United Healthcare                                501 S. Calhoun Street
Dept. CH 10151                                   Room 201
Palatine, IL 60055                               Carlton Building
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Miami, F1 33132
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          Case 09-34791-PGH        Doc 1645   Filed 04/22/11    Page 4 of 10




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                                          4
Case 09-34791-PGH        Doc 1645       Filed 04/22/11     Page 5 of 10




      IN THE CIRCUIT COURT OE TI1E 17TH .]UDICIAI CIRCUIT
               rN AND FOR BRO!üARD COUNTY, FTORIDA
                    cAsE NO. 09-062943 (19)


      RAZORBACK FUNDING'           l,T,C, et a1   ,



      -vg-
                     PIaintíffs
                                    '                 CERTIF¡ED
      scoTT w. ROTHSTEIN' et al.,                       GOPY
                     Defendants.




                  TRANSCRIPT (EXCERPT) OF PROCEEDINGS
                Plaiûtiff's      Motion For Leave to            Depose
                              Incarcerated Defendant

      DAjIE TAI(EN:            April 15, 20lt
      TTME.:                   1135 P.M. - 3¡35          P.M.
      PI,ACE:                  Brolrard County Courthouse
                               201- Southeast 6th Street
                               Fort Lauderdale, Florída 33301
                                .IEEFREY   E.   STRETTFELD,       Círcuit   .fudge


           This cause came on to be heard at the tl-me and place
      aforesaid, when and where the followíng proceedíngs were
      reported by:

                 Laurie VeIor Regietered Merit Reporter
                         United Reporting, Inc.
                       1-218 Southeast 3rd Avenue
                     Fort Lauderdale, Florlda 33316
                                    954-525-222I

                                  UnitedReporting Inc.
                                      954-525-222L
Case 09-34791-PGH     Doc 1645    Filed 04/22/11      Page 6 of 10




                                                                      Page   2

                    APPEAR.ANCES FOR THE PLATNTIFFS
            & SCHERER/ L],P
     CONR.A.D
     By: REID A. COCAT,IS, ESQ' , and
          MAXINE K. STREETER, ESQ,,
     633 South Federal Highway. 8th Floor
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            ADAMM. MOSKOWITZ, ESQ.,
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      GREENBERG TRAURIG
      By:   GLENNE. GOIDSTEIN, ESQ., and
            CARANL. ROTHCHILD, ESQ.,
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      TEVÍ CARDENAS,  LIP
      By:   C. THOMAS TEW' JR.' ESQ. ' and
            BRYAN T . !üEST, ESQ. ,
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      APPEARANCES FOR THE DEFENDANTS, Platinum Partners Value
      Arbitrage Fund, lLP, and Centurion Structured Growth, LLC
      GOIDSTEIN, TANEN & TRENCT1, P.A.
      By: STACEY E. TRIEN, ESQ.,
      One Biscayne Tower, Suite 3700
      Two South Biscayne Boufevard
      Miami, Florida    331-31-


      *Other counsel of record appeared for the hearing' but did
      not address the Court.*



                            United Reporting, lnc.
                                954-525-2221
Case 09-34791-PGH   Doc 1645     Filed 04/22/11    Page 7 of 10




                                                                  Page      3

  1     Thereupon, the following proceedings were had:
  ¿                  **********
  I
            THE COURT:       give you time to talk
                               I'LI
  4    about all that, because we're going to paint                     a

  5    more by-the-numbers picture.
  6         MR. TROPIN: OkaY.
  1         MR. COCALIS: And I have brought with                   me

  I    today for defense counsel- the list of the 46
  9    people that we want to depose, so they will
 10    have the names as wel-I as the number.
 11         THE COURT: I wíIl give you a chance to
 T2    tafk for a while. Letrs move on.
 13         Your motion for Ieave to depose
 1,4   Mr. Rothstein.
 15         MR. COCALIS: Yes, sir.
 16         THE COURT:         I assume there's no opposition
 t1    to that.
 18         MR. GOLDSTEIN: The only issue I woul-d
 19    think    There is no opposj-tion, obviously, but
 20    the concern that the defense have, si-nce
 2t    they're moving to take it, is that al-l the
 22    folks have the opportunity to examine
 23    Mr. Rothstein.
 z4         THE COURT: Oh, yeah.                  The order needs to
 25    make it    c.l-ear that al-l- parties would have an

                         United Reporting,lnc.
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Case 09-34791-PGH    Doc 1645    Filed 04/22/11    Page 8 of 10




                                                                  Page   4

      1   opportunity to participate and ask questions,
      2   and there has to be language that meets the
      3   requirements of the Marshal's office and
      4   Good luck with all- that.
      5        MR. COCALIS: Vüel-Ir wê do have a para1lel
      6   motion pending before Judge Ray that's set for
      1   hearing on the 25th
      I        THE COURT: Right.
      9        MR. COCALfS:      a week from Monday. And
 10       we anticipate that there's going to be some
 11_      restrictions imposed. We fully realize that we
 72       may       if, indeed, he's in a Witness Protection
 13       Program while incarcerated, that it may be that
74        we have to do a video conference off site in
15        order to do it.
 L6             We're willing to live with any reasonable
L7        restrj-ction as long as we have access to
1B        Mr. Rothstein.
19               THE COURT: So do you want to wait until
20        you appear before Judge Ray to find out the
27        language of the restrictions so that my order
22        would paralJ-el his?
¿.J             MR. COCALIS: I mean, that woul-d seem
24        reasonabl-e.
25             THE COURT:       Okay. So the motion is
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Case 09-34791-PGH     Doc 1645     Filed 04/22/11   Page 9 of 10




                                                                    Page   5

  1    granted, and you'11 submit an order when you're
  2    ready to provide the appropriate form to               me.

  3         MR. COCALIS: Okay.
  4          THE COURT: Okay?
  q,
            MR. COCALIS: And f apologize that ít
  6    wasn't as f ancy as the motion f il-ed by the
  l    trustee,    the motion for issuance of writ of
  I    habeas corpus ad testíficandum,              but I thought
       motion for feave to depose incarcerated
 10    defendant hras a
 1,1         THE COURT: So         Mr. Lichtman Ís up on hj-s
 I2    Latin, 1s that what yourre saYing?
 13          MR. COCALIS: APParentlY so.
 74          THE COURT:         OkaY. on the ín camera
 15    inspections,     first    of all,    Platinum Partners,
 I6    not that there's anything of any significance
 1-7   in there, but, clearly,          the email stríng is
 18    strictJ-y       or involves counsel, it's
 19    privileged,     and I'd ask that these documents
 20    be

 2I          Ma'am, if you'd come get your documents'
 22    please.
 23                   **********
 24    (Whereupon. the hearing was concluded at 3:35 p.m.)
 25

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Case 09-34791-PGH   Doc 1645   Filed 04/22/11   Page 10 of 10
